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                             UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
V.                                                §   CASE NO. 1:13-CR-118(13)
                                                  §
ZHEN YIN WENG                                     §

        ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                    ON DEFENDANT’S GUILTY PLEA

       The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate Judge,

for administration of a guilty plea under Rules 11 and 32 of the Federal Rules of Criminal Procedure.

Judge Giblin conducted a hearing in the form and manner prescribed by Federal Rule of Criminal

Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea Before the United

States Magistrate Judge [Clerk’s Doc. #228]. The magistrate judge recommended that the Court accept

the defendant’s guilty plea and conditionally accept the plea agreement. He further recommended that

the Court finally adjudge the defendant as guilty on Count Two of the Indictment filed against the

defendant in this cause.

       The parties have not objected to the magistrate judge’s findings. The Court ORDERS that the

Findings of Fact and Recommendation on Guilty Plea [Clerk’s Doc. #228] of the United States

Magistrate Judge are ADOPTED. The Court defers acceptance of the plea agreement until after review

of the presentence report.


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       It is further ORDERED that, in accordance with the defendant’s guilty plea and the magistrate

judge’s findings and recommendation, the defendant, Zhen Yin Weng, is hereby adjudged as guilty on

Count Two of the Indictment charging violations of 8 U.S.C. § 1324(a)(1)(A)(v)(I).

       SIGNED this the 30 day of June, 2014.




                                      ____________________________
                                      Thad Heartfield
                                      United States District Judge




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